a - re Case 2:17-cr-20406-PDB-RSW ECF No. 112 filed 07/23/18 PagelD.651 Page 1 of 29

United States District Court
Eastern District of Michigan
Southern Division

United States of America, Case No. 17-cr-20406
Honorable Paul D. Borman

Offense: Conspiracy to Violate the
D-6 Nancy A. Johnson, Labor Management Relations Act
| (18 U.S.C. § 371)
Defendant.
Maximum Imprisonment: 5 years

Maximum Fine: $250,000

Maximum Supervised Release: 3
years

 

Rule 11 Plea Agreement -

 

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Defendant
Nancy A. Johnson and the government agree as follows:
1. Guilty Plea

A. Count of Conviction

Defendant Nancy A. Johnson will enter a plea of guilty to Count One of the

Fourth Superseding Indictment.

 
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Count One charges conspiracy to violate the Labor Management Relations
Act, in violation of 18 U.S.C. § 371.

Elements of the Offense

The elements of conspiracy to violate the Labor Management Relations Act,
as charged in Count One of the Fourth Superseding Indictment, are as follows:

(1) Two or more persons conspired to violate the Labor Management
Relations Act in violation of 29 U.S.C. § 186(a)(2), (b)(1), and (d)(1).

(2) The defendant knowingly and voluntarily joined the conspiracy.

(3) A member of the conspiracy did one of the overt acts described in the
Fourth Superseding Indictment for the purpose of advancing or helping the
conspiracy.

B. ‘Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for Defendant Nancy
A. Johnson’s guilty plea to Count One:

1. From in or before 2009 through 2016, FCA executives conspired with
one another, with FCA, with officials at the UAW. and with the UAW, to violate
the Labor Management Relations Act. From 2014 through 2016, while serving as a
representative and employee of the UAW, Nancy A. Johnsen knowingly joined the
conspiracy whereby officers and employees of the UAW would willfully request,

receive, and accept—and agree to receive and accept—money and things of value

2.

 
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worth over $40,000 from persons acting in the interest of FCA. The prohibited
payments and things of value included tens of thousands of dollars in personal
travel, golf resort fees, lavish meals and parties, limousine services, designer
clothing, jewelry, designer shoes, golf equipment, electronics, and a shotgun.
During that time, FCA was the employer of tens of thousands of employees
represented by the UAW.

2. Defendant Nancy A. Johnson, then a representative and employee of
the UAW, knowingly and voluntarily joined this conspiracy to take and receive
money and things of value from persons acting in the interest of FCA. Johnson
joined knowing that the money and things of value, which were delivered through
and concealed by the UAW-Chrysler National Training Center (NTC), were
willfully made with the intent to benefit Nancy A. Johnson, senior UAW official
Virdell King, senior UAW official Keith Mickens, and other senior UAW officials,
who were not permitted to receive the money and things of value.

3, The International Union, United Automobile, Aerospace, and
Agricultural Implement Workers of America (UAW) was a labor organization
based in Detroit, Michigan. The UAW represented tens of thousands of non-
managerial employees employed by FCA at numerous locations in Michigan and
across the United States. The UAW was a labor organization subject to the Labor

Management Relations Act, 29 U.S.C. §§ 142 & 152.

3.

 
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4. Nancy A. Johnson was a UAW employee who served as a senior
official in the UAW Chrysler Department from 2014 through 2016. As a senior
UAW official in the Chrysler Department, Nancy A. Johnson was responsible for
negotiating and administering the collective bargaining agreements between the
UAW and FCA on behalf of tens of thousands of FCA employees represented by
the UAW. In 2015, Nancy A. Johnson served as a member of the UAW national
negotiating committee responsible for the collective bargaining agreements between
the UAW and FCA.

5. Keith Mickens (D-5) was a UAW employee who served as a senior
official in the UAW Chrysler Department from 2010 through 2015. As a senior
UAW offictal in the Chrysler Department, Keith Mickens was responsible for
negotiating and administering the collective bargaining agreements between the
UAW and FCA on behalf of tens of thousands of FCA employees represented by
the UAW. In 2011, Kerth Mickens served as a member of the UAW national
negotiating committee responsible for negotiating the terms of the collective
bargaining agreements between the UAW and FCA.

6..  Virdeli King (D-4) was a UAW employee who served as a sonior
official in the UAW Chrysler Department from 2008 until 2016. As a senior UAW
official in the Chrysler Department, Virdell King was responsible for negotiating

and administering the collective bargaining agreements between the UAW and FCA

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on behalf of tens of thousands of FCA employees represented by the UAW. In 2011
and 2015, Virdell King served as a member of the UAW national negotiating
committee responsible for negotiating the terms of the collective bargaining
agreements between the UAW and FCA.

7. Fiat Chrysler Automobiles US LLC was an automotive company based
in Auburn Hills, Michigan, and the successor to the automotive company formerly
known as Chrysler Group LLC. Both are referred to here as “FCA.” FCA was an
employer in an industry affecting interstate commerce and subject to the Labor
Management Relations Act, 29 U.S.C. §§ 142 & 152.

8.  Alphons Iacobelli (D-2) was the FCA Vice President for Employee
Relations and a person acting in the interest of employer FCA from 2008 through
2015. As the FCA Vice President for Employee Relations, Alphons Iacobelli was
the senior FCA official responsible for negotiating with the UAW and for
administering the collective bargaining agreements between FCA and the UAW. As
the FCA Vice President for Employee Relations, Alphons Iacobelli was FCA’s lead
representative for labor relations and managed FCA’s relationship with the UAW.
Alphons Iacobelli was the senior FCA official responsible for resolving disputes
and grievances that arose under the collective bargaining agreements between FCA

and the UAW.

 
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9. Jerome Durden (D-1) was a Financial Analyst in FCA’s Corporate
Accounting Department. From 2008 through 2015, Jerome Durden was the
controller of the NTC and served as the secretary of the NTC Joint Activities Board.

10. The UAW-Chrysler Skill Development & Training Program d/b/a the
UAW-Chrysler National Training Center (NTC) was a tax-exempt corporation
based in Detroit, Michigan. The NTC purported to function as a labor management |
committee under the Labor Management Labor Relations Act, 29 U.S.C.

§ 186(c)(9). The stated purpose of the NTC was to provide for the education,
training, and retraining of workers.

ll. ‘The governing body of the NTC was known as the Joint Activities
Board. The Vice President of Employee Relations of FCA and the Vice President of
the Chrysler Department of the UAW served as the Chairmen of the NTC Joint
Activities Board. The remainder of the Joint Activities Board was made up of
senior officials from FCA and the UAW.

12. FCA Vice President Alphons Iacobelli, FCA Financial Analyst Jerome

| Durden, and their co-conspirators used NTC bank accounts and NTC credit card
accounts to conceal prohibited payments and things of value paid and delivered to
senior UAW official Nancy A. Johnson, senior UAW official Virdell King, senior

UAW official Keith Mickens, and other senior UAW officials.

 
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13, Inand after 2014, FCA Vice President Alphons Iacobelli, FCA
Financial Analyst Jerome Durden, and other FCA executives encouraged and
authorized senior UAW official N ancy A. Johnson and other senior UAW officials
to use the NTC credit cards to pay for personal purchases and personal expenditures
in an effort to obtain benefits, concessions, and advantages in the negotiation,
implementation, and administration of the collective bargaining agreements
between FCA and the UAW.

| 14. In approximately December 2014, Nancy A. Johnson told Virdell
King that FCA Vice President Alphons Iacobelli said, “if you see something you
want, feel free to buy it. I don’t have a problem if you buy it on the charge card.”
Nancy A. Johnson also told Virdell King “Al [lacobelli] didn’t have a problem”
with union officials making personal purchases on their NTC credit cards.
Overt Acts

15. One or more members of the conspiracy completed one or more of the
following overt acts to effect the object of the conspiracy:

16. InJune 2014, the UAW President approved the appointment of Nancy
A. Johnson as the Top Administrative Assistant to the Vice President for the UAW
Chrysler Department. As the Top Administrative Assistant, Nancy A. Johnson

was the second most senior official in the UAW Chrysler Department.

 
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17. Inand after 2012, NTC credit cards were given to senior UAW
officials, including Virdell King, Keith Mickens, and others. Nancy A. Johnson
received an NTC credit card in 2014.

18. From 2014 through 2016, Nancy A. Johnson made purchases on her
NTC credit card for her own benefit and, sometimes, at the direction and request of
other high-ranking UAW officials and for the benefit of other high-ranking UAW
officials. Nancy A. Johnson also directed other UAW officials to use their NTC
credit cards to make personal purchases for the benefit of other senior UAW
officials.

19. In October 2014, Nancy A. Johnson directed Virdell King to buy
luggage at the London Luggage Shop in Detroit, Michigan. King used her NTC
credit card to make the purchase. This luggage was for Johnson and another senior
UAW official.. The luggage purchased by Virdell King cost $811.01.

20. In December 2014, Nancy A. Johnson directed Virdell King to buy |
luggage at the London Luggage Shop in Detroit, Michigan. King used her NTC
credit card to make the purchase. This luggage was for Johnson and other senior
UAW officials. The luggage purchased by Virdell King cost $2,919.77.

21. In August 2015, Nancy A. Johnson directed Virdell King to purchase
a shotgun to be presented as a birthday present to another senior DAW officer, At

the direction of Nancy A. Johnson, Virdell King spent $2,182 to purchase an

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Italian-made Beretta shotgun at Field & Stream in Troy, Michigan. Virdell King
had the NTC pay for the shotgun, using funds provided by FCA.

22. Nancy A. Johnson used the NTC credit card to make over $40,000 in
personal purchases for other senior UAW officials and herself. Nancy A. Johnson
made these personal purchases for herself and other high-ranking UAW officials
knowing that the credit card purchases were authorized by individuals acting in the
interest of FCA and paid for by funds provided by FCA. Although Nancy A.
Johnson made some purchases using her NTC credit card for her own personal
benefit, the majority of the purchases that she made using her NTC credit card were
done at the direction of and for the personal benefit of other senior UAW officials
and not for her benefit.

C. Other Relevant Conduct

Sometime in 2014 or 2015, a high-level UAW official directed senior VAW
officials to use money supplied by automobile manufacturing companies through
joint UAW training centers to pay for travel, including travel solely for purported
union business, as well as lavish meal and other entertainment costs of senior UAW
officials and their friends, family and allies. This directive was issued in order to
reduce costs to the UAW budget from such expenditures because the UAW’s

budget was under pressure.

 
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In 2014, 2015, and 2016, in Palm Springs, California, high-level UAW
officials used UAW funds to pay for extravagant meals, premium liquor, multi-
month stays at condominiums, and multiple rounds of golf for little, if any,
legitimate union-business or labor-management purposes. As set forth above in the
factual basis, some additional expenses in Palm Springs for golf, expensive meals,
hotel suites, limousine services, condominium expenses, and other things were paid
for using NTC credit cards with funds supplied by FCA.

During the period 2014 through 2016, 100% of the UAW salaries of a large
number of UAW officials and employees, nominally assigned to the NTC, was paid
for by FCA through the NTC. FCA paid these salaries for the UAW even though
senior UAW officials and FCA executives both knew that these UAW officials and
employees “assigned” to the NTC spent most of their work time performing tasks
for the UAW, reported to the UAW, and enforced FCA’s compliance with the
collective bargaining agreement on behalf of the union and not for the benefit of
FCA or the NTC.

Because Nancy A. Johnson provided this information to the United States
pursuant to a proffer agreement with the United States, the parties agree that it
should not be included in determining defendant’s guideline calculations under

USS.G. §1B1.8(a).

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II, Sentencing Guidelines
A. Standard of Proof
The Court will find sentencing factors by a preponderance of the evidence.
B. Agreed Guideline Range
There are no sentencing guideline disputes. Except as provided below, the
defendant’s guideline range is 12-18 months, as set forth on the attached
worksheets. If the Court finds:
1, that defendant’s criminal history category is higher than reflected
on the attached worksheets, or
2. that the offense level should be higher because, after pleading
guilty, defendant made any false statement to or withheld
information from her probation officer; otherwise demonstrated a
lack of acceptance of responsibility for her offense; or obstructed
justice or committed any crime,
and if any such finding results in a guideline range higher than 12-18 months, the
higher guideline range becomes the agreed range.
Il. Sentence
The Court will impose a sentence pursuant to 18 U.S.C, § 3553, and in doing

so must consider the sentencing guideline range.

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A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(c){1)(C) the sentence of
imprisonment in this case may not exceed 18 months.

B. Supervised Release

A term of supervised release, if imposed, follows the term of imprisonment.
There is no agreement on supervised release. In other words, the Court may impose
any term of supervised release up to the statutory maximum term, which in this case
is not more than three years. The agreement concerning imprisonment described
above in Paragraph 3A does not apply to any term of imprisonment that result from
any later revocation of supervised release.

C. Special Assessment

Defendant will pay a special assessment of $100.00,

D. ‘Fine

There is no agreement as to fines.

E. Restitution

The Court shall order restitution to every identifiable victim of defendant’s
offense.
IV. Cooperation Agreement

‘The written cooperation agreement between Defendant Nancy A. Johnson

and the government, which is dated July 23, 2018, is part of this plea agreement.

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V. Use of Withdrawn Guilty Plea

If the Court allows defendant to withdraw her guilty plea for a “fair and just
reason” pursuant to Fed. R. Crim. P. 11(d)(2)(B), Johnson waives her rights under
Fed. R. Evid. 410, and the government may use her guilty plea, any statement made
under oath at the change-of-plea hearing, and the factual basis statement in this plea
agreement, against her in any proceeding.
VI. Defendant’s Right to Withdraw from this Agreement

Defendant Johnson may withdraw from this agreement, and may withdraw
her guilty plea, if the Court decides to impose a sentence higher than 18 months.
This is the only reason for which Johnson may withdraw from this agreement. The
Court shall advise defendant that if she does not withdraw her guilty plea under this
circumstance, the Court may impose a sentence greater than 18 months.
VIL Appeal Waiver

Defendant Nancy A. Johnson waives any right she may have to appeal her

~ conviction on any grounds. If the defendant’s sentence of imprisonment does not

exceed 18 months, the defendant also waives any right she may have to appeal her
sentence, including the fine and amount of restitution imposed, on any grounds.

Nothing in this waiver bars a timely claim of ineffective assistance of counsel

on appeal or by collateral relief under 28 U.S.C, § 2255,

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VHE. Consequences of Withdrawal of Guilty Plea or Vacation of Conviction

If the defendant is allowed to withdraw her guilty plea or if any conviction
entered pursuant to this agreement is vacated, the Court shall, on the government’s
request, reinstate any charges that were dismissed as part of this agreement. If
additional charges are filed against defendant within six months after the date the
order vacating defendant’s conviction or allowing her to withdraw her guilty plea
becomes final, which charges relate directly or indirectly to the conduct underlying
the guilty plea or to any conduct reflected in the attached worksheets, defendant
waives her right to challenge the additional charges on the ground that they were
not filed in a timely manner, including any claim that they were filed after the
limitations period expired.
IX. Parties to Plea Agreement |

Unless otherwise indicated, this agreement does not bind any government
agency except the United States Attorney’s Office for the Eastern District of
Michigan.
X. Scope of Plea Agreement

This agreement, which includes ail documents that it explicitly incorporates,
is the complete agreement between the parties. This agreement supersedes all other
promises, representations, understandings and agreements between the parties

concerning the subject matter of this plea agreement that were made at any time

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before the guilty pica is entered in court. Thus, no oral or written promises made by
the government to defendant or to the attorney for the defendant at any time before
defendant pleads guilty are binding except to the extent they have been explicitly
incorporated into this agreement.

Notwithstanding the previous paragraph, if defendant has entered into a
proffer agreement in writing or a cooperation agreement in writing with the
government, this plea agreement does not supersede or abrogate the terms of any
such prior written agreement.

This agreement also does not prevent any civil or administrative actions
against defendant, or any forfeiture claim against any property, by the United States

or any other party.

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XI. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in the Office
of the United States Attorney by 5:00 P.M. on July 23, 2018. The government
reserves the right to modify or revoke this offer at any time before defendant pleads

guilty.

Matthew Schneider
United States Attomey

  

 

 

David A. Gardey Charles J. Kalil I
Assistant United States Attorney Assistant United States Attorney
Chief, Public Corruption Unit

Date: 2-) &- ly

By signing below, defendant acknowledges that she has read (or has been read) this
entire document, understands it, and agrees to its terms. She also acknowledges that
she is satisfied with her attorney’s advice and representation. Defendant agrees that
she has had a full and complete opportunity to confer with her lawyer, and has had

all of her questions answered by her lawyer.

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Harold Gurewitz CD) Nancy A¥éhnson
Attorney for Defendant " Defe | ant }

Date: Vey %, PLAS

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Defendant: _|Nancy A. Johnson Count: 1
Docket No.: Statute(s): |18 USC 371 (29 USC 186)

 

 

 

 

 

 

WORKSHEET A (Offense Levels)

Complete one Worksheet A for each count of conviction (taking into account relevant conduct
and treating each stipulated offense as a separate count of conviction) before applying the
multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts
of conviction, if the counts of conviction are all “closely related” to each other within the
meaning of U.S.S.G. § 3D1.2(d), complete only a single Worksheet A.

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

Guideline Section Description Levels

2E5.1(a)(2) Prohibited payments to labor union representatives

2E5.1(b)(2)(B); Value of prohibited payments > $40,000 but < $95,000
2B1.1(b}(1)(D)

 

 

 

 

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

 

Guideline Section Description Levels
3B1.3 Abuse of position of trust
3B1.1 Manager/supervisor of the offense

 

 

 

 

A-!

 
 

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Defendant: (Nancy A. Johnson Count: 1
Docket No.: | Statute(s):; }18 USC 371 (29 USC 186)

 

 

 

 

 

 

3. ADJUSTED OFFENSE LEVEL

 

Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does
not cover every count of conviction (taking into account relevant conduct and treating
each stipulated offense as a separate count of conviction), complete one or more

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additional Worksheets A and a single Worksheet B. See

 

 

 

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If this is the only Worksheet A, check this box and skip Worksheet B.

 

 

If the defendant has no criminal history, check this box and skip Worksheet C.

 

 

 

 
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Defendant: |Nancy A. Johnson Count: 1

 

 

 

 

 

 

Docket No.: Statute(s): [18 USC 371 (29 USC 186)

 

WORKSHEET B (Multiple Counts)

Instructions (U.S.8.G. ch. 3, pt. D):

e Group the counts of conviction into distinct Groups of Closely Related Counts. “All counts
involving substantially the same harm shall be grouped together into a single Group.” (See
U.S.S.G. § 3D1.2.)

e Determine the offense level applicable to each Group. (See U.S.S.G. §3D1.3.)

e Determine the combined offense level by assigning “units” to each Group as follows (see
U.S.S.G. § 3D 1.4):

. assign | unit to the Group with the highest offense level,

. assign 1 unit to each additional Group that is equally serious as, or 1 to 4 levels less
serious than, the Group with the highest offense level,

° assign 4 unit to each Group that is 5 to 8 levels less serious than the Group with the
highest offense level,

. assign no units to each Group that is 9 or more levels less serious than the Group with

the highest offense level.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7"
1. Group ONE: COUNT(S) -
ADJUSTED OFFENSE LEVEL —
unit
2. Group Two: CouNT(s) eS
ADJUSTED OFFENSE LEVEL —
unit
3. GrouP THREE: COUNT(S)
ADJUSTED OFFENSE LEVEL —
anit
4. Group Four: Count(s) ee
ADJUSTED OFFENSE LEVEL —
unit
5. ToTaAL UNITS
units

 

 

 

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Defendant: [Nancy A. Johnson Count: {

 

 

 

 

 

 

Docket No.: Statute(s): {18 USC 371 (29 USC 186)

 

6. INCREASE IN OFFENSE LEVEL

 

1 unit —~ no increase 2 1/2 —3 units —> add 3 levels
11/2 units —> addilevel 3 1/2—5 units —> add 4 levels
2 units -~-> add 2 levels > 5 levels —> add 5 levels

 

 

 

 

7. ADJUSTED OFFENSE LEVEL OF GROUP
WITH THE HIGHEST OFFENSE LEVEL

 

 

 

8. COMBINED ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items 6 and 7.

 

 
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Defendant: (Nancy A. Johnson Count: 1

 

 

 

 

 

Docket No.: Statute(s): [18 USC 371 (29 USC 186)

 

 

WORKSHEET C (Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant conduct

and stipulated offenses):

 

L. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months .
(U.S.S.G, §§ 4A1.1(a)):

Enter 3 points for each prior adult sentence of imprisonment exceeding one
year and one month that either (1) was imposed within 15 years of the
defendant's commencement of the instant offenses (taking into account relevant
conduct and stipulated offenses) or (2) resulted in the defendant’s confinement
during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1),
(e)(1).)

Prior Sentence of Imprisonment of at Least 60 Days

(U.S.S.G. §§ 4A1.1(b)):

Enter 2 points for each prior sentence of imprisonment of at least 60 days not
counted under U.S.S.G. § 4A1.1(a) that either (1) resulted from an offense
committed after the defendant turned 18 and was imposed within 10 years of
the defendant’s commencement of the instant offense (taking mto account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b),

4A1.2(e)(2)) or (2) resulted from an offense committed before the defendant -

turned 18 and resulted in the defendant’s confinement during any part of the 5-
year period preceding the defendant’s commencement of the instant offense
(see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences

(U.S.S.G. §§ 4A1 1(c)):

Enter 1 point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or
(b) that either (1) resulted from an offense committed after the defendant turned
18 and was imposed within 10 years of the defendant’s commencement of the
instant offense (taking into account relevant conduct and stipulated offenses)
(see US.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2) resulted from an offense
committed before the defendant turned 18 and was imposed within 5 years of
the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see US.S.G. §§ 4A1.1(c),
4A1.2(d)(2)(B)). NOTE: No more than 4 points may be added under this item.

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3. POINTS

- ZPOINTS

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Defendant: |Nancy A. Johnson Count: 1
Docket No.: Statute(s): (18 USC 371 (29 USC 186)
Date of Status* Offense Sentence Release Points
Imposition | Date**

 

 

 

 

 

 

 

 

 

 

* If the defendant committed the offense before turning 18, indicate whether he or she was
sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only two situations: (1) when a sentence covered under
U.S.S.G. § 4A1.1(a) was imposed more than 15 years before the defendant’s commencement of
the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in
his or her confinement during any part of that 15-year period; or (2) when a sentence counted
under U.S.S.G. § 4A1.1(b) was imposed for an offense committed before the defendant turned
18 but resulted in his or her confinement during any part of the 5-year period preceding his or
her commencement of the instant offense (taking into account relevant conduct and stipulated
offenses).

 
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Defendant: (Nancy A. Johnson Count: 1

 

 

 

 

 

 

Docket No.: Statute(s): |18 USC 371 (29 USC 186)

 

2. COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE

(U.S.S.G. § 4A1.1(d))

Enter 2 points if the defendant committed any part of the instant offense
(taking into account relevant conduct and stipulated offenses) while under any
criminal justice sentence having a custodial or supervisory component,
including probation, parole, supervised release, imprisonment, work release,
and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type of
control and identify the sentence from which it resulted.

 

 

 

 

 

 

3. PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(e))

 

Enter 1 point for each prior sentence resulting from a conviction for a crime of
violence that did not receive any points under U.S.S.G. § 4A1.1(a), (b), or (c)
because such sentence was considered related to another sentence resulting
from a-conviction for a crime of violence. But enter no points where the
sentences are considered related because the offenses occurred on the same
occasion. (See U.S.S.G. §§ 4Al.1(e), 4A1.2(p).) Identify the crimes of
violence and briefly explain why the cases are considered related. NOTE: No
more than 3 points may be added under this item.

 

 

 

 

 

 

4. ‘TOTAL CRIMINAL HISTORY POINTS O°
Enter the sum of the criminal history points entered in Items 1-4.

 

 

 

5. CRIMINAL HISTORY CATEGORY

 

 

 

Total Criminal History Points Criminal History Category
0-1 I
2-3 II
4-6 Til
7-9 IV
10-12 Vv
213 VI

 

 

 

 

C-3

 
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Defendant:

Nancy A. Johnson Count: 1

 

Docket No.:

 

 

 

 

Statute(s); [18 USC 371 (29 USC 7186)

 

WORKSHEET D (Guideline Range)

1. (COMBINED) ADJUSTED OFFENSE LEVEL

Enter the adjusted offense level entered in Item 3 of Worksheet A or the
combined adjusted offense level entered in item 8 of Worksheet B.

2. ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G. § 3EL.1)

3. TOTAL OFFENSE LEVEL

Enter the difference between Items 1 and 2.

4, CRIMINAL HISTORY CATEGORY

Enter “I” if the defendant has no criminal history. Otherwise, enter the
criminal history category entered in Item 6 of Worksheet C.

5. CAREER OFFENDER/CRIMINAL LIVELIHOOD/ARMED CAREER
CRIMINAL/DANGEROUS SEX OFFENDER (U.S.S.G. ch. 4, pt. B)
a. Total Offense Level: If the career offender provision (U.S.S.G. §

b.

4B1.1), the criminal livelihood provision (U.S.S8.G. § 4B1.3), the
armed career criminal provision (U.S.8S.G. § 4B1.4), or the
dangerous sex offender provision (U.S.S.G. § 4B1.5) results in a
total offense level higher than the total offense level entered in Item
3, enter the higher offense level total.

Criminal History Category: If the career offender provision
(U.S.S.G. § 4B1.1), the armed career criminal provision (U.S.S.G.
§ 4B1.4), or the dangerous sex offender provision (U.S.S.G.
§ 4B1.5) results in a criminal history category higher than the
criminal history category entered in Item 4, enter the higher
criminal history category. |

6. GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G, CH. 5, PT. A)
Enter the guideline range in the Sentencing Table (see U.S.S.G. ch, 5, pt. A) produced by

the total offense level entered in Item 3 or 5.a and the criminal history category entered in
Item 4 or 5.b. .

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1248

 

months

 

 

 

 

 
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Defendant: |Nancy A. Johnson Count: 1

 

 

 

 

Docket No.: Statute(s): [18 USC 371 (29 USC 7186)

 

 

7. STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE
If the maximum sentence authorized by statute is below, or a minimum
sentence required by statute is above, the guideline range entered in Item 6,
enter either the guideline range as restricted by statute or the sentence

 

required by statute. (See U.S.S.G. § 5G1.1.) Ifthe sentence on any count of |.
conviction is required by statute to be consecutive to the sentence on any [- NA
other count of conviction, explain why.

 

 

 

months

 
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Defendant: (Nancy A. Johnson Count: 1
Docket No.: Statute(s): (18 USC 371 (29 USC 186)

 

 

 

 

 

 

 

WORKSHEET E (Authorized Guideline Sentences)

1. PROBATION
a. Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

, 1. Probation is not authorized by the guidelines (minimum of guideline range > 10
months or statute of conviction is a Class A or a Class B felony). If this box is
checked, go to Item 2 (Split Sentence).

2. Probation is authorized by the guidelines (minimum of guideline range = zero
months).

3. Probation is authorized by the guidelines, provided the court imposes a condition or
combination of conditions requiring intermittent confinement, community
confinement, or home detention satisfying the minimum of the guideline range
(minimum of guideline range > 0 months but < 9 months).

b. Length of Term of Probation (U.S.S.G. § 5B1.2)
oe 1. At least 1 year but not more than 5 years (total offense level > 6)
2. No more than 3 years (total offense level < 6).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

c. Conditions of Probation (U.S.S.G. § 5B1.3)

 

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(C)(2), (D)(2))

la. A split sentence is not authorized (minimum of guideline range = 0 months or > 15
months).

b. A split sentence is authorized (minimum of guideline range > 0 months but < 12
months). The court may impose a sentence of imprisonment that includes a term of
supervised release with a condition that substitutes community confinement or home
detention for imprisonment, provided that at least one-half of the minimum of the
guideline range is satisfied by imprisonment (if the minimum of the guideline range is
10 or 12 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, 6, 8, or 9 months). The authorized length
of the term of supervised release is set forth below in Item 4.b.

   
  

 

 

 

 

3. IMPRISONMENT (U.S.S.G., CH. 5, PT. C)
A term of imprisonment is authorized by the guidelines if it is within the applicable
guideline range (entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.)

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Statute(s): |18 USC 371 (29 USC 186)

 

 

4. SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

a. Imposition of a Term of Supervised Release (U.S.S.G, § 5D1.1)

 

The court must impose a term of supervised release if it imposes a term of
imprisonment of more than one year, or if it is required to do so by statute. The court
may impose a term of supervised release if it imposes a term of imprisonment of one
year or less.

 

 

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_b. Length of Term of Supervised Release (U.S.S.G. § 5D 1.2)

. At least 2 years but not more than 5 years, where the count of conviction is a Class
A or a Class B felony, i.c., an offense carrying a maximum term of imprisonment
> 25 years.

. At least 1 year but not more than 3 years, where the count of conviction is a Class
C or a Class D feiony, i.c., an offense carrying a maximum term of imprisonment
> 5 years but < 25 years.

1 year, where the count of conviction is a Class E felony or a Class A
misdemeanor, i.e., an offense carrying a maximum term of imprisonment > 6
months but < 5 years.

The statute of conviction requires a minimum term of supervised release of |
years.

   

c. Conditions of Supervised Release (U.S.S.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other

co

nditions of supervised release.

5. RESTITUTION (U.S.S.G. § 5E1.1)

 

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2.

 

 

The court must order full restitution to the victim(s) of the offense(s) of conviction.
(See 18 U.S.C. §§ 3556, 3663A, 3664.) The court will determine who the victims
are and their restitution amounts.

The court must order full restitution to the victim(s) of the offense(s) of conviction.
(See 18 U.S.C. §§ 3556, 3663A, 3664) The parties agree that full restitution is

 

 

 
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Defendant:

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Docket No.:

 

 

 

 

Statute(s);_|18 USC 371 (29 USC 186)

 

 

 

 

 

 

 

 

 

 

The parties agree that the court may order restitution to the victim(s) of the
offense(s) of _ conviction in any amount up to and _ including
Foe . (See 18 U.S.C. §8 3663(a)(3), 3664.)

 

 

The parties agree that the court may also order restitution to persons other than the
victim(s) of the ees) of conviction in any amount up to and including
go a . (See 18 ULS.C. §§ 3663(a)(1){A), 3663A(a)(3), 3664.)

 

Restitution is not applicable.

6. FINE (U.S.S.G. § SEL.2)

a.

Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is
unable to pay and is not likely to become able to pay any fine.” (See U.S.S.G. §
5E1.2(a).) Generally, the fine authorized by the guidelines is limited to the range
established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there are
exceptions to this general rule. (See U.S.S.G. § 5EI.2(b), (c})(4).)

Fine Range from Fine Table (U.S.S.G. § 5E1.2(c)(3))

Minimum Fine Maximum Fine
$5,500 © $55.000. -

R-3

 
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Defendant:

Nancy A. Johnson

Count:

1

 

 

 

 

 

 

 
 

Docket No.: Statute(s): [18 USC 371 (29 USC 186)

. SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)
The court must impose a special assessment on every count of conviction. The special
assessments for individual defendants are:
» $100.00 for every count charging a felony ($400 for a corporation),
» $25.00 for every count charging a Class A misdemeanor ($125 for a corporation),
« $10.00 for every count charging a Class B misdemeanor ($50 for a corporation), and
= $5.00 for every count charging a Class C misdemeanor or an infraction ($25 for a
corporation).
The defendant must pay a special assessment or special assessments in the total amount of

. FORFEITURE (U.S.8S.G, § 5E1.4)

 

| Assets of the defendant will be: Assets of the defendant will not be

forfeited.

 

 

 

 

 

. ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

 

 

UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & IK)
List any applicable aggravating or mitigating circumstance that might support a term of
imprisonment above or below the applicable guideline range.

(Rev, April 2044)

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